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                          Exhibit 2
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   17
   18                       UNITED STATES DISTRICT COURT
   19                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   20    NICHIA CORPORATION,                         Case No. 2:20-cv-00359-GW-E
   21                Plaintiff                       PLAINTIFF NICHIA
   22                                                CORPORATION’S OBJECTIONS
               v.                                    AND RESPONSES TO
   23    FEIT ELECTRIC COMPANY, INC.,                DEFENDANT FEIT ELECTRIC
                                                     COMPANY, INC.’S THIRD SET
   24                Defendant.                      OF INTERROGATORIES (NOS.
                                                     12-20)
   25
   26                                                Judge: Hon. George H. Wu

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    1         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff
    2   Nichia Corporation (“Nichia”) objects and otherwise responds to Interrogatory Nos.
    3   12-20 of Defendant Feit Electric Company, Inc. (“Defendant” or “Feit”).
    4
    5        INTRODUCTORY STATEMENT AND GENERAL OBJECTIONS
    6         1.     Nichia incorporates its “Introductory Statement,” and the “General
    7   Objections” from its previously served objections to Interrogatory Nos. 1-6 and
    8   Interrogatory Nos. 7-11.
    9         2.     Nichia incorporates all of the foregoing General Objections into each
   10   of Nichia’s responses to Defendant’s Interrogatories, whether or not each such
   11   General Objection is expressly referred to in that specific response. Each of
   12   Nichia’s Responses to the Interrogatories is expressly subject to, and without
   13   waiver of, these General Objections. By setting forth specific objections, Nichia
   14   does not intend to limit or supersede these General Objections. Where a partial
   15   answer can be made to an Interrogatory that is otherwise objectionable, such answer
   16   will be made without waiving any stated objection.
   17
   18                                 NICHIA’S RESPONSES
   19   INTERROGATORY NO. 12: Identify with specificity any element of an Asserted
   20   Claim of the ’734 Patent that Nichia asserts is not taught or disclosed in the prior art
   21   or prior art combinations disclosed in Feit Electric’s Final Invalidity Contentions1
   22   including the factual basis for Nichia’s position and any corresponding support or
   23   evidence for Nichia’s position.
   24         Response: In addition to the foregoing general objections, Nichia objects to
   25   this Interrogatory to the extent it calls for information that is covered by the
   26   1
          To the extent Nichia contends that this Interrogatory improperly consists of
   27   multiple subparts due to the number of references disclosed in Feit Electric’s Final
   28   Infringement Contentions [sic], Feit Electric reserves its rights, but instructs Nichia
        to respond only as to Mano until such time as the parties can resolve this issue.

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    1   attorney-client privilege, the work-product doctrine, or other immunity from
    2   disclosure. Nichia further objects to this Interrogatory to the extent it calls for
    3   expert testimony. Nichia will provide expert testimony on this subject in
    4   accordance with Court’s scheduling orders.
    5         Subject to and without waiver of the foregoing general and specific
    6   objections, Nichia responds that the ’734 Patent was issued by the U.S. Patent and
    7   Trademark Office and is presumed valid. As a matter of law, it is Feit’s burden to
    8   establish the invalidity of the Asserted Claims, not Nichia’s burden to establish that
    9   they are not invalid. In addition, the prior art identified in Defendant’s Final
   10   Invalidity Contentions, served April 23, 2021 (the “Contentions”) fails to establish,
   11   through invalidity charts or otherwise, that any piece of prior art anticipates or,
   12   whether alone or in combination, would have rendered obvious any Asserted Claim
   13   of the ’734 Patent. Specific examples are provided below.
   14         The Contentions include a number of claim charts (Exhibits A-H)
   15   purportedly demonstrating that some of the Asserted Claims are anticipated or
   16   obvious. As an initial matter, none of the cited references anticipates the Asserted
   17   Claims at least because each of the cited references fails to disclose at least one
   18   element of the Asserted Claims. Further, none of the cited combinations of
   19   references renders the Asserted Claims obvious at least because there is no
   20   motivation to combine the references in the manner asserted, nor has Feit
   21   articulated any expectation of success for the proposed combinations. Indeed, Feit
   22   suggests obviousness combinations without any specific analysis of the references.
   23   See, e.g., Ex. A, pp. 18-22. Feit has the burden of establishing invalidity by a clear
   24   preponderance of the evidence, but has failed to meet that burden. The charts are
   25   further deficient at least for the reasons stated below.
   26         With regard to anticipation, the charts broadly assert that a reference
   27   “directly or inherently, based on the presumed knowledge of a POSITA, discloses
   28   each and every limitation of these claims.” E.g., Exhibit A, p. 1. The charts are


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    1   deficient where they rely on inherency without providing a basis in fact and/or
    2   technical reasoning to reasonably support a determination that the allegedly
    3   inherent characteristic necessarily flows from the teachings of the applied prior art.
    4   E.g., Exhibit A, p. 19 (wrongly asserting that Mano inherently discloses a YAG
    5   group phosphor merely because “YAG phosphors were well known and commonly
    6   used in the art”); Exhibit C, p. 6 (wrongly asserting that Ishibashi inherently
    7   discloses element 1[c] because “[i]t was well known in the art that LEDs were
    8   commonly packaged in a fluorescent, transparent resin, wherein the fluorescent
    9   material converted wavelength.”). Nichia identifies specific examples below,
   10   without waiving its general position that the charts fail to establish the inherent
   11   disclosure of a claim element, or part of a claim element, by any of the references.
   12   Further, where the charts rely on a reference inherently disclosing a claim element,
   13   there is not an alternative allegation of obviousness based on the reference.
   14   Notwithstanding Feit’s failure to allege obviousness in these circumstances, the
   15   charts provide no factual support or analysis to support a determination of
   16   obviousness.
   17         With regard to obviousness, the charts generally are deficient in providing
   18   the factual bases or analysis required for an obviousness determination. When a
   19   motivation to combine is provided, it is usually boilerplate without the requisite
   20   analysis. This is clear, for example, where the different charts assert the same
   21   motivations to combine different references despite underlying factual differences
   22   with the references. E.g., Exhibit G, p. 17 (noting in chart applying Maxik, the
   23   same rationale as used with Ishibashi, and erroneously referring to Ishibashi: “A
   24   POSITA would have found the modification of Ishibashi with Suehiro ‘897
   25   obvious, requiring simple substitution of known components, to produce
   26   predictable results”); Exhibit C, pp. 11-12 (noting same in chart applying
   27   Ishibashi); compare Exhibit D, p. 13 with Exhibit G, p. 10 (same boilerplate
   28   motivation to combine Suehiro ’897 with either Scianna or Maxik). The lack of


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    1   reasoned basis shows that the purported obviousness grounds are the product of
    2   hindsight and the ’734 patent’s disclosures, and not based on the knowledge of a
    3   POSITA at the time of filing.
    4          The Contentions are further deficient for failure to consider—or even
    5   acknowledge—the Court’s claim constructions when addressing anticipation or
    6   obviousness. Because the Contentions do not apply the prior art to any claim
    7   element as construed, Feit has not shown that any such claim element is disclosed
    8   in the prior art.
    9          To the extent that the same prior art reference is used in multiple charts, any
   10   comments about that reference with respect to one chart are incorporated into the
   11   other charts where that reference is used. Additionally, specific comments to a
   12   particular chart are provided below by way of example only.
   13          Further, the specific comments to a particular chart that are provided below
   14   are responsive to the points alleged in the Contentions.
   15   Exhibit A
   16          As an initial matter, U.S. Patent Publication Number 2004/0239242
   17   (“Mano”) was cited and specifically addressed by the Examiner during prosecution,
   18   and the claims were allowed. All arguments that Nichia made distinguishing Mano
   19   during prosecution remain applicable here.
   20          The chart alleges that claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are
   21   anticipated by Mano. Notwithstanding the allegation of anticipation, the chart
   22   improperly mixes different embodiments of Mano. E.g., p. 4 (relying on figures
   23   from Mano’s first and second embodiments); p. 9 (relying on figures from Mano’s
   24   fifth embodiment). This is improper at least because anticipation cannot be based
   25   on a combination of different embodiments or distinct teachings of a single
   26   reference. While obviousness of these claims over Mano is not alleged, Nichia
   27   further notes that there is no factual basis or analysis provided to support a
   28   determination of obviousness.


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    1           The chart further alleges that claims 6, 7, 11, 13, and 14 would be obvious
    2   over Mano in view of one of U.S. Patent No. 6,066,861 (“Hohn”), U.S. Patent No.
    3   7,723,740 (“Takashima”), and European Publication No. 1116419B1 (“Debray”).
    4   It would not have been obvious to combine any one of Hohn, Takashima, and
    5   Debray with Mano, for example, due to the differences in subject matter, the
    6   different problems being solved, and the difficulty of modifying the references in
    7   the manner asserted without undue experimentation. Feit provides no specific
    8   motivation to combine any these references with Mano, and similarly articulates no
    9   expectation of success.
   10           With regard to specific elements, the chart is deficient for at least the
   11   following additional reasons.
   12           At least for reasons explained during prosecution, Mano fails to disclose
   13   elements 1[h], 1[i], and 1[j]. For example, with respect to element 1[h], the lens
   14   130 in Mano is not elongated in the longitudinal direction when viewed in plan
   15   view. Further, the light emitting element chips in Mano are not arranged from the
   16   center of the board to one end or the other end of the board, as required by elements
   17   1[i] and 1[j], at least because the chips are arranged transversely (or crosswise) on
   18   either side of the board’s center and they are not arranged longitudinally from the
   19   center to an end of the board. Mano also fails to disclose elements 1[d], 1[e], and
   20   1[g].
   21           In charting element 1[d], Feit relies on Mano. First, in charting element 1[a],
   22   Feit relies on substrate 110 (referring to the second embodiment) as the board, but
   23   in charting element 1[d], Feit relies on board 10 (referring to the first embodiment).
   24   This improperly mixes embodiments. Second, the bulb 81 does not enclose the
   25   board 10 as disclosed in Mano. This is apparent from FIG. 13, which shows that
   26   the board 10 extends into the base 82. Because the board 10 extends beyond the
   27   bulb, the bulb 81 does not “enclose[] the board” as required by the claim element.
   28


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    1         In charting element 1[e], Feit relies on Mano. Feit cites to Mano’s FIG. 10
    2   and corresponding disclosure, but does not appear to rely on anode 23a and cathode
    3   23b of this embodiment, and provides no allegations that either feature of Mano
    4   discloses any element of the claims. Nonetheless, FIG. 10 shows a packaged light
    5   emitting element 20 having a light emitting diode 21 that correspond to what Feit
    6   alleges are the light emitting elements required by element 1[b]. To the extent the
    7   anode 23a and cathode 23b of the light emitting element 20 are alleged to be the
    8   claimed support leads, this position is inconsistent with that taken with respect to
    9   elements 1[g] and 1[k], as well as claim 4. Further, anode 23a and cathode 23b do
   10   not “secure the plurality of light emitting element chips inside the transparent bulb.”
   11   Rather than rely on the anode 23a and cathode 23b of FIG. 10, Feit relies on the
   12   conductive pattern 50, including electrodes 50a and 50b, as the support leads.
   13   Mano explains that the conductive pattern 50 is formed by plating, and is therefore
   14   a thin layer of metal. E.g., Mano [0075] (“This wiring pattern may have a two-
   15   layer structure consisting of a lower layer made by Cu- or Ni-plating and an upper
   16   layer made by Au-plating on the lower layer.”). The conductive pattern 50 as
   17   disclosed in Mano does not offer support and in particular does not “secure the
   18   plurality of light emitting element chips inside the transparent bulb.” Further, this
   19   claim element (“support leads”) is distinct from the claim element “metal plates,”
   20   yet Feit appears to improperly conflate them, as well as to mix embodiments. See
   21   Exhibit A, pp. 7-9 (terminals 150 perform similar functions as conductive pattern
   22   50 in Mano’s various embodiments).
   23         In charting element 1[g], Feit relies on Mano. Specifically, Feit relies on
   24   either conductors 140 or terminals 150, but such wiring patterns are not “metal
   25   plates,” and Mano does not disclose any metal plates that protrude from both ends
   26   of the wavelength conversion member. A thin film or copper foil cannot
   27   reasonably be considered the claimed “metal plates.” Feit cites to portions of Mano
   28   that refer to wiring pattern 440 and terminals 450, that serve similar roles as


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    1   conductors 140 and terminals 150 in Mano’s fifth embodiment. To the extent these
    2   are alleged to be the metal plates, the same arguments also apply here.
    3             With regard to claim 4, in addition to relying on elements in Mano that do
    4   not correspond to the claimed metal plates and support leads, the elements that Feit
    5   relies on here do not cross. That is, Feit is wrong that “the conductors 140 crosses
    6   the support lead 150” (Exhibit A, p. 17), because element 140 does not extend from
    7   one side of element 150 to the other as required by the Court’s construction of the
    8   phrase “crosses the support lead.”
    9             With regard to claim 12, the chart is further deficient. As shown in FIG. 22
   10   of Mano, while the two sets 126 and 127 are each individually in series, the sets
   11   themselves are connected in parallel. In charting element 1[b], Feit relies on light
   12   emitting diode chips 21 in packaged light emitting element 20 to be the claimed
   13   “plurality of light emitting element chips.” In charting elements 1[i] and 1[j], Feit
   14   further relies on the first element set 126 and second element set 127 as the sets of
   15   light emitting element chips. Further, consistent with the Court’s claim
   16   construction, a set must be at least two chips. As shown in Mano, the sets 126 and
   17   127 that Feit relies on are connected in parallel. Thus, this does not meet the claim
   18   requirement that “the plurality of light emitting element chips” be connected in
   19   series.
   20             With regard to claim 17, the chart is further deficient. Mano teaches that
   21   light can enter the board through an exposed part 161 and then pass through the side
   22   surfaces 116. The surface of the board is otherwise covered with reflecting layer
   23   (reflector) 160. There is no disclosure that the light forwards out through the
   24   second surface of the board from an LED chip mounted on the first surface side.
   25             With regard to claims 19, 22, and 25, the chart is further deficient. Mano
   26   teaches that the four LED chips are radially arranged, not that they are aligned
   27   along a line, and not along a line that extends in the longitudinal direction. In
   28   particular, Mano fails to teach that “all light emitting element chips mounted on the


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 1   first surface side of the board are aligned along a line,” as required by claim 19.
 2   Further, Mano fails to teach that “the first set of light emitting element chips and
 3   the second set of light emitting element chips are aligned along substantially a
 4   single line that extends in the longitudinal direction of the wavelength conversion
 5   member,” as required by claim 22. Mano also fails to teach that “all of the light
 6   emitting element chips mounted on the first surface side of the board are aligned
 7   along a single line when viewed in plan view of the first surface side of the board,”
 8   as required by claim 25.
 9   Exhibit B
10         The chart alleges that claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are
11   obvious over U.S. Patent Publication No. 2004/0008525 (“Shibata ’525”) with U.S.
12   Patent Publication No. 2004/0007980 (“Shibata ’980”). It would not have been
13   obvious to combine Shibata ’525 with Shibata ’980. For example, Shibata ’525
14   discloses a structure for mounting a chained LED body within a traditionally
15   shaped lightbulb, while Shibata ’980 discloses embodiments related to a tubular
16   fluorescent-style lightbulb.
17         The chart further alleges that claims 11, 13, and 14 would be obvious over
18   Shibata ’525 in view of Shibata ’980 and further in view of one of Hohn,
19   Takashima, and Debray. It would not have been obvious to combine any one of
20   Hohn, Takashima, and Debray with Shibata ’525 and Shibata ’980, for example,
21   due to the differences in subject matter, the different problems being solved, and the
22   difficulty of modifying the references in the manner asserted without undue
23   experimentation.
24         With regard to the specific elements, the chart is deficient for at least the
25   following additional reasons.
26         In charting claim elements 1[a] and 1[b], Feit relies on Shibata ’525. The
27   LED chips in the LED chain body in both Shibata ’525 and Shibata ’980 are
28   connected together by multiple short pieces of metal plates, so that the chain bodies


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 1   can be flexible. These multiple short pieces of metal plates do not constitute “a
 2   board having end portions and a center portion therebetween” in the manner
 3   claimed.
 4         In charting claim element 1[c], Feit relies on Shibata ’525 and Shibata ’980,
 5   but neither of these discloses a wavelength conversion member formed unitarily
 6   with a transparent member that “seals the plurality of the light emitting element
 7   chips.” Indeed, both Shibata references teach that the LED lamps 3 are composed
 8   of LED chips that are embedded in transparent bodies. See Shibata ’525, ¶[0014];
 9   Shibata ’980, ¶[0015].
10         In charting claim element 1[g], Feit relies on Shibata ’525 and Shibata ’980.
11   Shibata ’525 fails to disclose the metal plates, and the flexible members 4 that are
12   described do not meet the claim requirements. First, these are the same elements
13   that Feit has identified as the alleged board, but the “board” and the “metal plates”
14   of the claim are distinct elements. Second, the flexible members 4 are connected to
15   the bottom of LED lamps 3, they do not protrude from both ends of a wavelength
16   conversion member. For Shibata ’980, the pin 1b does not protrude from a
17   wavelength conversion member, it is instead part of base 1a which is separate from
18   the tube 1 whose inside surface may have a fluorescent material. Further, there is
19   no reason why a POSITA would modify Shibata ’525 to include pin 1b, at least
20   because there is no reason why tubular lamp 1 (in Shibata ’980) would be placed
21   within a bulb 1a (in Shibata ’525) or why (if it were) the lead-in wires 1d, anchors
22   1f, and hub 1e (in Shibata ’525) would remain or be connected with the pin 1b. The
23   Contentions fail to provide a factual basis for motivating the combination, or an
24   expectation of success if the references were combined as alleged.
25         In charting claim element 1[h], Feit relies on Shibata ’980. Neither Shibata
26   reference teaches that the wavelength conversion member is on both the first
27   surface side and second surface side of the board. Furthermore, tube 1 in Shibata
28   ’980 does not seal the plurality of LED chips, and a POSITA would not be


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 1   motivated to modify the fluorescent material on the tube 1 to be included on the
 2   first surface side and second surface side of the board (allegedly the flexible
 3   members 4).
 4         In charting claim element 1[k], Feit relies on Shibata ’525. Feit has
 5   identified both 1d and 1f as allegedly being the claimed support leads, but anchors
 6   1f (which are described as providing support) do not provide electrical connection,
 7   and wires 1d (which are described as providing electrical connection) do not
 8   provide support. The Contentions rely on FIG. 1 of Shibata ’525.
 9   Notwithstanding, FIG. 3 of Shibata ’525 shows a different embodiment lacking
10   anchors 1f, and both embodiments of Shibata ’525 describe the stem 1c as
11   providing support, not the wires 1d. Accordingly, Shibata ’525 fails to show this
12   element.
13   Exhibit C
14         The chart alleges that claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are
15   anticipated by U.S. Patent Publication No. 2003/0031015 (“Ishibashi”). Ishibashi
16   fails to disclose each and every element of the claim.
17         The chart further alleges that claims 1, 4, 6, 7, 11, 13-15, 17, 18, 20-22, 24,
18   and 27 are obvious over Ishibashi in view of one of U.S. Patent No. 7,875,897 to
19   Suehiro (“Suehiro ’897”) and U.S. Patent Publication No. 2004/0257797 to Suehiro
20   (“Suehiro ’797”), or Ishibashi in view of one of Suehiro ’897 and Suehiro ’797 and
21   further in view of one of Hohn, Takashima, and Debray. Claims 3, 12, 19, and 25
22   are excluded from any obviousness allegation.
23         It would not have been obvious to combine any one of Suehiro ’897 and
24   Suehiro ’797 with Ishibashi. For example, Ishibashi requires that the printed circuit
25   board 5 be flexible so that it can be bent into a cage-like shape. However, the
26   proposed combinations would incorporate the glass sealing member of the Suehiro
27   references to act as a wavelength conversion member, defeating the purpose of
28   Ishibashi’s flexibility. It further would not have been obvious to combine any one


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 1   of Hohn, Takashima, and Debray with Ishibashi and one of Suehiro ’897 and
 2   Suehiro ’797, for example, due to the differences in subject matter, the different
 3   problems being solved, and the difficulty of modifying the references in the manner
 4   asserted without undue experimentation. The Contentions contain no specific
 5   arguments regarding combining the Hohn, Takashima, or Debray references with
 6   any other.
 7          Additionally, the Suehiro references contain numerous embodiments that
 8   cannot be freely mixed and for which the chart fails to provide a motivation for
 9   mixing. While the chart points primarily to figures of single-LED-chip
10   embodiments, citations are also provided to other embodiments without
11   explanation. By way of example, a POSITA would not have – and could not have –
12   combined the sixth embodiment (as illustrated in FIGS. 11 and 12A) with the
13   eleventh embodiment (as illustrated in FIG. 202) of Suehiro ’797. There is no
14   indication that the unique structure in the sixth embodiment could be, let alone
15   should be, adapted for multiple LED chips, as needed for aspects of the eleventh
16   embodiment. Moreover, Feit has not demonstrated that the device structures for
17   these embodiments are compatible. For the sixth embodiment, a ceramic board 9 is
18   used, which is in direct contact with a wavelength conversion portion 2 and without
19   a reflection portion. In contrast, the eleventh embodiment uses a base portion 104,
20   reflection surface 130, and elevated sheet-glass member 121 setup, which is a
21   fundamentally different and alternative approach. The embodiments also use
22   different processing steps. Compare FIGS. 12A-12C with FIGS. 16 and 17. Other
23   portions of the Contentions draw from yet further embodiments, without support for
24   the proposed mixing and modifications. Indeed, the mixing of unrelated
25   embodiments is not even acknowledged.
26
     2
27     The embodiments described with respect to FIGS. 15, 16C-F, and 18-22 of Suehiro ’797 are
     also multi-chip arrangements with a mounting setup that cannot be combined with the teachings
28   related to FIGS. 11 and 12A. Moreover, the embodiments described for FIGS. 15, 16C-F, and
     18-22 have all the same deficiencies as those of FIG. 20.

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 1         The various embodiments of the Suehiro references achieve different goals
 2   through different mechanisms (e.g., varied mounting structures and processes), and
 3   it would not have been obvious to mix and match them, nor would a POSITA have
 4   had a reasonable expectation of success from mixing and matching them. The
 5   Contentions thus fail to provide a prima facie case of obviousness at least because
 6   they do not provide the necessary analysis for combining teachings from different
 7   embodiments of the same reference, let alone different embodiments of the
 8   different Suehiro references.
 9         With regard to the specific elements, the chart is deficient for at least the
10   following additional reasons.
11         In charting claim element 1[c], Feit relies on Ishibashi and alternatively on
12   Suehiro ’897. The chart points to LED chips 6 in Ishibashi being packaged on the
13   wiring pattern by soldering or the like. This is not a disclosure of a wavelength
14   conversion member, and to the extent the packaging is capable of converting
15   wavelength (which Ishibashi does not disclose), it at most discloses individually
16   packaged LED chips, not a wavelength conversion member that “seals the plurality
17   of light emitting element chips.” The chart also relies on Suehiro ’897 at FIG. 13,
18   which does not disclose a wavelength conversion member that “seals the plurality
19   of light emitting element chips.”
20         In charting claim element 1[e], Feit relies on Ishibashi. The chart relies on a
21   single supporting rod 3 to be the claimed “support leads,” but a single member such
22   as supporting rod 3 cannot be the claimed “support leads.”
23         In charting claim element 1[g], Feit relies on Ishibashi and alternatively on
24   Suehiro ’897 and Suehiro ’797. At most, Feit alleges that Ishibishi would
25   “invariably include a conductive connecting means,” but the claimed pair of metal
26   plates protruding at both ends of the wavelength conversion member, for electrical
27   connection with support leads, is not inherent in Ishibashi as there are other ways to
28   provide electrical connection, and therefore Ishibashi cannot anticipate the claim.


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 1   Both Suehiro’897 and Suehiro ’797 require a rigid glass encapsulant. However,
 2   Ishibashi requires a bendable “printed circuit board 5,” pointing away from a pair of
 3   metal plates protruding at both ends of the wavelength conversion member.
 4   Further, the embodiments of the Suehiro references in the included figures only
 5   have a single LED chip, and the multiple-chip embodiments do not disclose a pair
 6   of metal plates protruding at both ends of the wavelength conversion member. To
 7   the extent that the chart relies on wiring patterns (e.g., wire 19, Exhibit C, p. 11,
 8   wiring pattern 91, id., p. 12), such wiring patterns are not metal plates.
 9         In charting claim element 1[h], Feit relies on Ishibashi and alternatively on
10   Suehiro ’897 and Suehiro ’797. As noted, Ishibashi does not teach a wavelength
11   conversion member, but even if the packaged LED chips 6 were regarded as having
12   a wavelength conversion member, there is no disclosure that this wavelength
13   conversion member would be on the first surface side and second surface side of
14   the board or elongated in the longitudinal direction when viewed in plan view of the
15   first surface side of the board. Alternatively, the chart relies on Suehiro ’897 or
16   Suehiro ’797. As noted, Ishibashi teaches away from the solution of both Suehiro
17   ’897 and Suehiro ’797. Further, the relied-on FIG. 13 of Suehiro ’897 does not
18   show a plan view and it cannot be inferred from FIG. 13 that the wavelength
19   conversion member is elongated in the longitudinal direction when viewed in plan
20   view of the first surface side of the board. As to Suehiro ’797, the relied-on FIG.11
21   does not show a wavelength conversion member on both the first surface side and
22   second surface side of the board. Further, the embodiments of the Suehiro
23   references in the included figures only have a single LED chip, and the multiple-
24   chip embodiments do not disclose wherein the wavelength conversion member is
25   provided on the first surface side and the second surface side, the wavelength
26   conversion member is elongated in the longitudinal direction when viewed in plan
27   view of the first surface side of the board.
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 1            With regard to claim 4, Feit relies on Ishibashi and alternatively on Suehiro
 2   ’897 and Suehiro ’797. While Feit relied on an allegedly inherent disclosure in
 3   Ishibashi of a pair of metal plates, nothing in Ishibashi teaches that any such alleged
 4   metal plates crosses the support lead. The alleged rationale for modifying Ishibashi
 5   with Suehiro ’897 or Suehiro ’797 is nonsensical. The alleged metal plates of the
 6   Suehiro references are wiring patterns on a ceramic board or leads extending from a
 7   single LED chip and the alleged support leads is the support rod 3 of Ishibashi. A
 8   POSITA would not have been motivated to make the wiring patterns or leads of the
 9   Suehiro references extend from one side of the support rod 3 of Ishibashi to the
10   other.
11            With regard to claims 19, 22, and 25, the chart is further deficient. Ishibashi
12   teaches that the LED chips are arranged on different belt-like branches 5a, not that
13   they are aligned along a line, and not along a line that extends in the longitudinal
14   direction. In particular, Ishibashi fails to teach that “all light emitting element chips
15   mounted on the first surface side of the board are aligned along a line,” as required
16   by claim 19. Further, Ishibashi fails to teach that “the first set of light emitting
17   element chips and the second set of light emitting element chips are aligned along
18   substantially a single line that extends in the longitudinal direction of the
19   wavelength conversion member,” as required by claim 22. Ishibashi also fails to
20   teach that “all of the light emitting element chips mounted on the first surface side
21   of the board are aligned along a single line when viewed in plan view of the first
22   surface side of the board,” as required by claim 25.
23   Exhibit D
24            The chart alleges that claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are
25   anticipated by U.S. Patent No. 6,568,834 (“Scianna”). Scianna fails to disclose
26   each and every element of the claim.
27            The chart further alleges that claims 1, 4, 6, 7, 11, 13-15, 17-22, 24, 25, and
28   27 are obvious over Scianna in view of one of Suehiro ’897 and Suehiro ’797, or


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 1   Scianna in view of one of Suehiro ’897 and Suehiro ’797 and further in view of one
 2   of Hohn, Takashima, and Debray. Claims 3 and 12 are excluded from any
 3   obviousness allegation.
 4         It would not have been obvious to combine any one of Suehiro ’897 and
 5   Suehiro ’797 with Scianna. For example, neither Suehiro ’897 nor Suehiro ’797
 6   teach that the LEDs are located within a lightbulb, and Scianna does not provide
 7   any details about how the LEDs are mounted or secured within the lightbulb.
 8   Further, as another example, some of the relied on embodiments in Suehiro ’897 are
 9   disclosed with respect to backlighting applications. In general, a POSITA would
10   not be motivated to take a lighting source for a backlighting application and mount
11   or secure it within a lightbulb, and doing so would entail numerous design
12   challenges beyond the ordinary skill. It further would not have been obvious to
13   combine any one of Hohn, Takashima, and Debray with Scianna and one of Suehiro
14   ’897 and Suehiro ’797, for example, due to the differences in subject matter, the
15   different problems being solved, and the difficulty of modifying the references in
16   the manner asserted without undue experimentation. The Contentions contain no
17   specific arguments regarding combining the Hohn, Takashima, or Debray
18   references with any other.
19         Further, both Suehiro ’897 and Suehiro ’797 disclose a number of different
20   embodiments and, in the analysis disclosed in the claim chart, Feit selectively picks
21   and chooses elements from different embodiments without explaining why a
22   POSITA would have been motivated to make the modification.
23         With regard to the specific claim elements, the chart is deficient for at least
24   the following additional reasons.
25         In charting claim elements 1[a] and 1[b], Feit relies on Scianna, or
26   alternatively Suehiro ’897 and Suehiro ’797. Sciana does not disclose a pluarlity of
27   LED chips mounted on a first surface side of the board. The chart points to “the
28   radially outer surface” as the first surface side of the board. As claimed the second


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 1   surface must be on an opposite side to the first surface, and there is not an opposite
 2   side to the radially outer surface shown in Scianna. Further, the first and second
 3   region are part of the first surface, but there are not ends of the radially outer
 4   surface shown in Scianna that the first and second regions extend to.
 5         In charting claim elements 1[c] and 1[h], Feit relies on Scianna, or
 6   alternatively Suehiro ’897 and Suehiro ’797. Scianna’s disclosure of “any type” of
 7   LED does not disclose the claimed wavelength conversion member. Further, there
 8   is no embodiment in any one of Suehiro ’897 and Suehiro ’797 that teaches the
 9   claimed wavelength conversion member. Regarding Suehiro ’897, the embodiment
10   of FIG. 13 does not teach a wavelength conversion member that “seals the plurality
11   of light emitting element chips” or that is “elongated in the longitudinal direction
12   when viewed in plan view of the first surface side of the board”; and the
13   embodiment of FIGS. 27A and 27B in addition to not teaching a wavelength
14   conversion member that “seals the plurality of light emitting element chips” also
15   does not teach a wavelength conversion member that is provided on both the first
16   surface side and the second surface side of the board. Regarding Suehiro ’797, the
17   embodiments of FIG. 11 and FIG. 20 do not teach a wavelength conversion
18   member that “seals the plurality of light emitting element chips,” that is provided
19   on both the first surface side and the second surface side of the board, or that is
20   “elongated in the longitudinal direction when viewed in plan view of the first
21   surface side of the board.”
22         In charting claim element 1[g], Feit relies on Scianna, or alternatively
23   Suehiro ’897 and Suehiro ’797. Scianna does not expressly or inherently disclose
24   metal plates by its disclosure of wire or other suitable electrically conductive
25   material. Moreover, Scianna does not disclose that the electrically conductive
26   material protrudes at both ends of the wavelength conversion member.
27   Furthermore, the chart conflates the distinct elements 1[g] and 1[h], as Feit has
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 1   contended that conductors 30 are both of these elements simultaneously. Moreover,
 2   and regarding Suehiro ’797, a wiring pattern is not a pair of metal plates.
 3         In charting claim elements 1[i] and 1[j], Feit relies on Scianna. In particular,
 4   Feit relies on the LED chips that are radially arranged as shown in FIG. 10. These
 5   chips are not arranged from the center of the board to one end or the other end of
 6   the board at least because the chips are not arranged longitudinally from the center
 7   to an end of the board.
 8         With regard to claim 4, the chart alleges that Scianna discloses this based on
 9   the same disclosure of the metal plates discussed in element 1[g]. But Feit has
10   pointed to the same conductors 30 as both the metal plates and the support lead, and
11   the conductors 30 do not cross themselves. Further, the reliance on the Suehiro
12   references simply refers to it being obvious to supply electrical connection in the
13   manner claimed, which is deficient as a motivation to modify Scianna to meet the
14   claim element, and is further based on hindsight.
15         With regard to claim 17, Feit relies on Scianna and alternatively on Suehiro
16   ’897 and Suehiro ’797. Scianna does not expressly or inherently disclose this
17   element by its disclosure of a surface where LEDs are mounted. Moreover, Scianna
18   does not disclose the material composition or any other property of the mounting
19   surface, and given the radial arrangement of LEDs there is no reason why Scianna
20   would teach that “the board is configured to be transparent so that a light emitted
21   from the plurality of light emitting element chips on the first surface side of the
22   board forwards outside of the light emitting device through the second surface of
23   the board.” The alleged motivation for modifying Scianna with one of the Suehiro
24   references is also deficient. Because Scianna allegedly has a bottom-facing LED,
25   the chart alleges that “emulating that emission most closely in the combination …
26   would be achieved by emitting light from the bottom of the optical element.” At
27   most, this alleges that the combination would teach claim 17, but does not explain
28   why a POSITA would be motivated to do so, i.e. why a POSITA would be


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 1   motivated to modify Scianna to emulate the emission of Scianna’s alleged bottom-
 2   facing LED. The chart also lacks any factual basis for expectation of success
 3   without undue experimentation.
 4         With regard to claim 18, Feit relies on Scianna and alternatively on Suehiro
 5   ’897 and Suehiro ’797. Scianna does not expressly or inherently disclose this
 6   element by its disclosure of using any type of LED. Moreover, Scianna does not
 7   disclose any wavelength conversion, much less teach that “the wavelength
 8   conversion member is capable of converting light emitted from the plurality of light
 9   emitting element chips into light with a different wavelength such that the
10   converted light with the different wavelength is radiated along a first direction from
11   the first surface side of the board to an outer periphery of the wavelength
12   conversion member, and along a second direction from the second surface of the
13   board to the outer periphery of the wavelength conversion member.”
14         With regard to claims 19, 22, and 25, the chart is further deficient. Scianna
15   teaches chips arranged radially, not aligned along a line, and further not along a line
16   that extends in the longitudinal direction. The Suehiro references also do not teach
17   this element. The single LED chip embodiments that are relied on for other claim
18   elements are not relevant here, and the multiple chip embodiments showing an
19   array configuration (as in FIG. 20 of Suehiro ’797) does not teach chips aligned
20   along a line. Further, the embodiment of FIGS. 27A and 27B of Suehiro ’897 is
21   inconsistent with the other embodiments relied on, and the chart lacks a cogent
22   reason why a POSITA would modify Scianna based on this embodiment.
23   Exhibit E
24         The chart alleges that claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are
25   anticipated by U.S. Patent No. 4,211,955 (“Ray”). Ray fails to disclose each and
26   every element of the claim.
27         The chart further alleges that claims 1, 4, 6, 7, 11, 13-15, 17-22, 24, 25, and
28   27 are obvious over Ray in view of one of Suehiro ’897 and Suehiro ’797, or Ray in


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 1   view of one of Suehiro ’897 and Suehiro ’797 and further in view of one of Hohn,
 2   Takashima, and Debray. Claims 3 and 12 are excluded from any obviousness
 3   allegation.
 4         It would not have been obvious to combine any one of Suehiro ’897 and
 5   Suehiro ’797 with Ray. For example, neither Suehiro ’897 nor Suehiro ’797 teach
 6   that LEDs are located within a lightbulb, and Ray does not provide any details
 7   about how an LED structure such as taught in one of Suehiro ’897 and Suehiro ’797
 8   would be mounted. It further would not have been obvious to combine any one of
 9   Hohn, Takashima, and Debray with Ray and one of Suehiro ’897 and Suehiro ’797,
10   for example, due to the differences in subject matter, the different problems being
11   solved, and the difficulty of modifying the references in the manner asserted
12   without undue experimentation. The Contentions contain no specific arguments
13   regarding combining the Hohn, Takashima, or Debray references with any other.
14         In charting element 1[a], Feit relies on Ray and alternatively on Suehiro ’897
15   and Suehiro ’797. The alleged “infinite number of end portions” in Ray along a
16   circumference does not disclose “a board having end portions and a center portion
17   therebetween in a longitudinal direction.” Moreover, the Contentions assertion that
18   the board could be reconfigured is irrelevant to anticipation and insufficient
19   regarding obviousness. No motivation is provided and the assertion is plainly
20   based on hindsight.
21         In charting element 1[c], Feit relies on Ray and alternatively on Suehiro ’897
22   and Suehiro ’797. The chart relies on Ray’s disclosure of LEDs 40, but a generic
23   disclosure of LEDs does not inherently disclose a wavelength conversion member
24   formed unitarily with a transparent member that seals the plurality of light emitting
25   element chips. The Suehiro references cannot remedy this deficiency. For
26   example, the embodiments of FIG. 1 (first embodiment) and FIG. 13 (thirteenth
27   embodiment) of Suehiro ’897 and FIG. 3 (first embodiment), FIGS. 7-11 (second
28   through sixth embodiments), and FIGS. 15A-15B (ninth embodiment) of Suehiro


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 1   ’797 involve a single LED and therefore do not teach a wavelength conversion
 2   member that “seals the plurality of light emitting element chips.” The embodiment
 3   of FIGS. 27A and 27B (twenty-seventh embodiment) of Suehiro ’897 and FIGS.
 4   19A-22 (tenth through thirteenth embodiments) are inconsistent with the other
 5   embodiments, and inconsistent with Feit’s application of elements 1[e], 1[g], and
 6   1[k], and the chart also does not explain the factual bases or offer analysis for why
 7   these embodiments or any other embodiment of the Suehiro references would be
 8   combined with Ray in the manner alleged. The purported motivations to combine
 9   that are offered are boilerplate and lack sufficient factual underpinning.
10         In charting element 1[g], Feit relies on Ray and alternatively on Suehiro ’897
11   and Suehiro ’797. The chart relies on Ray’s disclosure of LEDs being “electrically
12   connected,” but a generic disclosure of electrical connection does not inherently
13   disclose a pair of metal plates protruding at both ends of the wavelength conversion
14   member. The Suehiro references cannot remedy this deficiency.
15         In charting element 1[h], Feit relies on Ray and alternatively on Suehiro ’897
16   and Suehiro ’797. The chart alleges that Ray inherently discloses this element
17   based on general industry knowledge, but such knowledge does not inherently
18   disclose that “the wavelength conversion member is provided on the first surface
19   side and the second surface side, [and] the wavelength conversion member is
20   elongated in the longitudinal direction when viewed in plan view of the first surface
21   side of the board.” The Suehiro references also do not remedy this deficiency
22         In charting elements 1[i] and 1[j], Feit relies on Ray and alternatively on
23   Suehiro ’897 and Suehiro ’797. The first set is alleged to be the three LEDs on the
24   left half of Ray’s device. While it is unclear what the second set is alleged to be
25   (the chart merely says Ray “would also have included a second set”), Ray does not
26   disclose a first/second set of the light emitting element chips are mounted on the
27   first/second region and arranged from the center of the board to one/the other end of
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 1   the board. The relied-upon LEDs are arranged in a circle around the edge of the
 2   purported board. The Suehiro references also do not remedy this deficiency.
 3         For example, the 3x3 arrays of Suehiro ’797 (see FIGs. 15A, 15B, 19A, 19B,
 4   and 20-22) do not disclose at least the following features of claim 1:
           a board having end portions and a center portion therebetween in a
 5         longitudinal direction, the board having a first surface on a first
           surface side thereof and a second surface on a second surface side
 6         thereof, the second surface being an opposite side to the first surface,
           the first surface including a first region and a second region, the first
 7         region extending from the center portion of the board to one of the
           end portions, the second region extending from the center portion of
 8         the board to the other of the end portions;
 9         a plurality of light emitting element chips mounted on the first surface
           side of the board…
10         wherein a first set of the light emitting element chips are mounted on
           the first region and arranged from the center portion of the board to
11         the one of the end portions, [and]
12         wherein a second set of the light emitting element chips are mounted
           on the second region and arranged from the center portion of the
13         board to the other one of the end portions.
14   (Emphasis added). That is, the claim requires two or more chips (i.e., a set) on
15   either side of the center. Instead of what is claimed, the references (e.g., in the 3x3
16   arrays) show only single LEDs arranged on either side of the center. To the extent
17   that the Contentions assert that the disclosed devices could nonetheless be re-
18   arranged or otherwise modified to meet the requirements of the claims, such an
19   argument is pure hindsight. Further, disclosing “another number of LED elements”
20   does not disclose the arrangement of light emitting element chips that is claimed.
21         With regard to claim 4, the chart alleges that Ray discloses this based on the
22   same inherent disclosure of the metal plates discussed in element 1[g]. But Ray
23   does not inherently disclose that each of the metal plates crosses the support lead.
24   The Suehiro references also do not remedy this deficiency.
25         With regard to claims 19, 22, and 25, the chart is further deficient. Ray
26   teaches chips arranged radially, not aligned along a line, and further not along a line
27   that extends in the longitudinal direction. The Suehiro references also do not
28   remedy this deficiency.

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 1   Exhibit F
 2          The chart alleges that claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are
 3   anticipated by Japanese Publication No. 2000-277808 (“Okamoto”). Okamoto fails
 4   to disclose each and every element of the claim.
 5          The chart further alleges that claims 1, 3, 4, 6, 7, 11, 13, 14, 18, 24, and 27
 6   are obvious over Okamoto in view of U.S. Patent No. 5,998,925 (“Shimizu”).
 7   Claims 12, 15, and 17, 19-22, and 25 are excluded from any obviousness allegation.
 8          It would not have been obvious to combine Shimizu with Okamoto. For
 9   example, there would be no reason to replace the multi-color LED chips in
10   Okamoto with a blue chip-yellow phosphor combination, given Okamoto’s use as a
11   signal light.
12          In charting claim element 1[c], Feit relies on Okamoto and alternatively
13   Shimizu. The chart relies on Okamoto’s disclosure of LED elements and industry
14   knowledge of fluorescent material. This does not inherently disclose a wavelength
15   conversion member formed unitarily with a transparent member that seals the
16   plurality of light emitting element chips. Further, while Shimizu teaches
17   wavelength conversion, it does not disclose a wavelength conversion member that
18   “seals the plurality of light emitting element chips.” Further, while the Contentions
19   cite the Suehiro references, there are no citations provided, obviousness is not
20   alleged in view of the Suehiro references, and no factual bases or analysis is
21   provided with respect to the Suehiro references.
22          In charting claim element 1[f], Feit relies on Okamoto. Okamoto teaches a
23   lighting device for use as a signal light, for use as, for example, an advertisement
24   light, a signal for notifying a process abnormality in a factory or the like, or a signal
25   light for calling attention at a doorway of a parking lot, a construction site, or the
26   like. This does not disclose, and the chart does not point to anything in Okamoto
27   disclosing, “a support base that can be threadedly engaged with a conventional light
28   bulb socket along a socket axis.”


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 1         In charting claim element 1[g], Feit relies on Okamoto and alternatively
 2   Shimizu. The wiring pattern 6 shown in Okamoto are not metal plates, and there is
 3   not a metal plate that protrudes from each end of the wavelength conversion
 4   member, as required by the Court’s claim construction. Further, absent hindsight,
 5   there would have been no reason to modify the design in Okamoto to include the
 6   metal terminals 205 from Shimizu, which at any event do not protrude from the
 7   wavelength conversion member taught in Shimizu.
 8         In charting claim element 1[h], Feit relies on Okamoto. First, Okamoto does
 9   not show a wavelength conversion member, and second, as explained earlier, a
10   POSITA would not modify Okamoto with Shimizu in the manner claimed.
11   Additionally, the chart relies on FIG. 6, which does not show a plan view of a first
12   surface side of the board. FIGS. 1 and 5, which do show such a plan view,
13   illustrate the resin 11 as being circular in shape in plan view, not elongated in a
14   longitudinal direction. As it is resin 11 that the combination proposes to modify to
15   include phosphor and therefore become the wavelength conversion member, the
16   combination as proposed fails to show this element.
17         In charting claim elements 1[i] and 1[j], Feit relies on Okamoto. In
18   particular, the chart relies on FIG. 11 of Okamoto, but FIG. 11 shows a prior art
19   device, not an embodiment of Okamoto. Accordingly, Okamoto fails to teach the
20   element.
21         With regard to claim 3, the chart alleges that Okamoto discloses this based on
22   the disclosure of “light translucent cover” 20. But Okamoto does not inherently
23   disclose that the cover is glass.
24         With regard to claim 4, the chart alleges that Okamoto discloses this based on
25   the disclosure of “[t]he structure of a basic lightbulb.” But Okamoto does not
26   inherently disclose that each of the metal plates crosses the support lead.
27         With regard to claims 19, 22, and 25, the chart is further deficient. In
28   charting element 1[j], Feit relies on Okamoto FIG. 11, which shows a grid or array


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 1   like pattern of LED chips, not chips that are aligned along a line, and not along a
 2   line that extends in the longitudinal direction. In particular, this figure in Okamoto
 3   fails to teach that “all light emitting element chips mounted on the first surface side
 4   of the board are aligned along a line,” as required by claim 19. Further, this figure
 5   in Okamoto fails to teach that “the first set of light emitting element chips and the
 6   second set of light emitting element chips are aligned along substantially a single
 7   line that extends in the longitudinal direction of the wavelength conversion
 8   member,” as required by claim 22. This figure in Okamoto also fails to teach that
 9   “all of the light emitting element chips mounted on the first surface side of the
10   board are aligned along a single line when viewed in plan view of the first surface
11   side of the board,” as required by claim 25.
12   Exhibit G
13         The chart alleges that claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are
14   anticipated by U.S. Patent No. 7,086,756 (“Maxik”). Maxik fails to disclose each
15   and every element of the claim. (The chart erroneously cites to the patent
16   publication of Ishibashi. The Ishibashi reference is similar to Maxik, and relevant
17   remarks regarding Ishibashi also apply here.)
18         The chart further alleges that claims 1, 4, 6, 7, 11, 13-15, 17, 18, 20-22, 24,
19   and 27 are obvious over Maxik in view of one of Suehiro ’897 and Suehiro ’797, or
20   Maxik in view of one of Suehiro ’897 and Suehiro ’797 and further in view of one
21   of Hohn, Takashima, and Debray. The Contentions exclude claims 3, 12, 19, and
22   25 from any assertion of obviousness.
23         It would not have been obvious to combine any one of Suehiro ’897 and
24   Suehiro ’797 with Maxik. For example, Maxik requires that the substrate 106 be
25   flexible so that it can be bent. However, the proposed combination would
26   incorporate the glass sealing member of Suehiro to act as a wavelength conversion
27   member, defeating the purpose of Maxik’s flexibility. It further would not have
28   been obvious to combine any one of Hohn, Takashima, and Debray with Maxik and


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 1   one of Suehiro ’897 and Suehiro ’797, for example, due to the differences in subject
 2   matter, the different problems being solved, and the difficulty of modifying the
 3   references in the manner asserted without undue experimentation.
 4         In charting element 1[c], Feit relies on Maxik or alternatively on Suehiro
 5   ’897 and Suehiro ’797. Maxik teaches using red, green, and blue LEDs to generate
 6   white light, and does not teach using wavelength conversion. Further, there is no
 7   disclosure in Maxik of a wavelength conversion member that “seals the plurality of
 8   light emitting element chips.” The Suehiro references cannot remedy this
 9   deficiency. For example, the embodiments of FIG. 1 (first embodiment) and FIG.
10   13 (thirteenth embodiment) of Suehiro ’897 and FIG. 3 (first embodiment), FIGS.
11   7-11 (second through sixth embodiments), and FIGS. 15A-15B (ninth embodiment)
12   of Suehiro ’797 involve a single LED and therefore do not teach a wavelength
13   conversion member that “seals the plurality of light emitting element chips.” The
14   embodiment of FIGS. 27A and 27B (twenty-seventh embodiment) of Suehiro ’897
15   and FIGS. 19A-22 (tenth through thirteenth embodiments) are inconsistent with the
16   other embodiments, and inconsistent with Feit’s application of elements 1[e], 1[g],
17   and 1[k], and the chart also does not explain the factual bases or offer analysis for
18   why these embodiments or any other embodiment of the Suehiro references would
19   be combined with Maxik in the manner alleged. The purported motivations to
20   combine that are offered are boilerplate and lack sufficient factual underpinning.
21         In charting element 1[g] (“a pair of metal plates protruding at both ends of
22   the wavelength conversion member”), Feit relies on Maxik or alternatively on
23   Suehiro ’897 and Suehiro ’797. The chart relies on electrical connectors 112 of
24   Maxik, but these are not located near the light emitting elements 110 and do not
25   protrude at both ends of a wavelength conversion member. The chart further relies
26   on what was allegedly well known in the art about electrical connectors, but this
27   does not inherently disclose a pair of metal plates protruding at both ends of the
28   wavelength conversion member. The chart does not allege that this element is


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 1   obvious in view of Maxik, and at any event does not provide the factual bases or
 2   analysis necessary for an obvious determination. The Suehiro references cannot
 3   remedy this deficiency. The embodiments with multiple LED chips do not have
 4   metal plates that protrude from both ends of the wavelength conversion member
 5   (e.g., twenty-seventh embodiment of Suehiro ’897). The embodiments with a
 6   single LED chip are inconsistent with how the chart applies other elements of the
 7   claim, such as elements 1[b], 1[c], and 1[h].
 8         In charting element 1[h], Feit relies on Maxik or alternatively on Suehiro
 9   ’897 and Suehiro ’797. The chart relies on Maxik’s disclosure regarding an omni-
10   directional light source, but this is not an inherent disclosure of a wavelength
11   conversion member that is provided on the first surface side and the second surface
12   side, or that the wavelength conversion member is elongated in the longitudinal
13   direction when viewed in plan view of the first surface side of the board. It appears
14   that Feit does not even allege Maxik teaches a wavelength conversion member that
15   is elongated in the longitudinal direction, and at any event the chart lacks any
16   factual basis or analysis for supporting such an assertion. The Suehiro references
17   cannot remedy this deficiency. The multiple LED chip embodiments of the Suehiro
18   references do not have a wavelength conversion member on both sides of the board.
19   The single LED chip embodiments do not show an elongated wavelength
20   conversion member, and some of them also do not show a wavelength conversion
21   member on both sides of the board (e.g., as shown in FIGS. 9 and 11 of Suehiro
22   ’797). Feit further alleges that a POSITA would have understood the teaching
23   relating to glass sealing portion 6 in Suehiro ’797 “to allow light to emit from the
24   bottom of the device, and as emphasizing that the wavelength conversion present on
25   the top face of the board also be implemented on the bottom of the board.” This is
26   wrong—the glass sealing portion 6 does not convert wavelength, and in fact
27   Suehiro ’797 teaches the opposite, namely that light is reflected back upward to the
28   wavelength conversion portion 2 and away from the glass sealing portion 6.


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 1   Suehiro ’797, ¶[0124] (“by providing the glass sealing portion 6 of whitish glass to
 2   protect the bottom surface of lead frame 5, light heading from the LED element 3 to
 3   the bottom side of light emitting device 1 can be reflected by the whitish glass and
 4   radiated in the direction of wavelength conversion portion 2.”)
 5         In charting element 1[k], Feit relies on Maxik or alternatively on Suehiro
 6   ’897 and Suehiro ’797. Feit’s position is unclear, but the chart seems to call both
 7   electrical connectors 112 and support 114 as the claimed support leads. E.g.,
 8   Exhibit G, p. 14. To the extent these are also alleged to be the claimed metal plate
 9   this is improper as it conflates elements 1[e] and 1[g]. Further, the support 114
10   does not provide electrical connection to the electrical connectors 112, and
11   therefore, Maxik does not show that the relied-upon purported pair of metal plates
12   are electrically connected with the support base via the support leads, as required by
13   the claim.
14         With regard to claim 4, the chart alleges that Maxik discloses the features of
15   this claim. As an initial matter, the number of cross-references and lack of
16   exposition make Feit’s contention sufficiently unclear that it fails to allege
17   invalidity. As best as can be determined, Feit is alleging that the electrical
18   conductors 112 (allegedly the metal plates) crosses the support 114 (allegedly the
19   support leads). But there is no reason why each of the alleged metal plates crosses
20   the support lead, in the manner required by the Court’s construction. Further, the
21   electrical conductors 112 appear to extend in the same direction as the support 114
22   and do not cross each other. The Suehiro references cannot remedy this deficiency.
23   Exhibit H
24         The chart alleges that claims 1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27 are
25   anticipated by Japanese Publication No. 2001-126515 (“Minato”). Minato fails to
26   disclose each and every element of the claim, either expressly or inherently. The
27   Contentions do not provide any analysis relating to obviousness based on Minato.
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 1         As an initial matter, Minato is cited in the ’734 Patent in the Description of
 2   the Related Art section of the Background, and was considered by the USPTO as
 3   evidenced by Minato appearing on the face of the patent. In particular, JP Patent
 4   Publication No. 3172947 is a granted patent of the patent application which was
 5   laid open as JP 2001-126515A. Any relevant remarks from the ’734 Patent or the
 6   prosecution where the USPTO allowed the claims over Minato are incorporated by
 7   reference.
 8         In charting element 1[c], Feit relies on Minato. Specifically, the chart points
 9   to LEDs encapsulated in a transparent resin, and then comments on general industry
10   knowledge of blue LEDs or wavelength conversion. First, the disclosure relied on
11   in the chart does not inherently disclose wavelength conversion for at least the
12   reason that the resin of Minato does not necessarily convert wavelength. Second,
13   Feit has made no allegations—let alone provided the factual underpinnings
14   regarding motivation to combine and expectation of success—necessary for an
15   obviousness argument or to otherwise rely on U.S. Patent No. 7,875,897 and U.S.
16   Patent Publication No. 2004/0257797, which are listed without specific citations.
17   Moreover, the Contentions do not even allege that all of the claimed features were
18   known in the art. For instance, there is no allegation that “a single component that
19   both converts wavelength and allows light to pass through” was known.
20         In charting elements 1[d] and 1[f], Feit relies on Minato. Specifically, the
21   chart points to Minato’s purpose of providing a lighting device using an LED. This
22   does not inherently disclose a transparent bulb that encloses the board and the
23   plurality of light emitting element chips. It is improper to rely on combinations of
24   other references to establish anticipation under 35 U.S.C. § 102. Moreover, with
25   respect to element 1[d], the Contentions do not even allege that all of the features of
26   the claim were known in the art. For instance, the Contentions are silent regarding
27   a bulb that encloses a board, or that encloses “a plurality of light emitting
28   elements.” Additionally, Feit has made no allegations—let alone provided the


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 1   factual underpinnings regarding motivation to combine and expectation of
 2   success—necessary for an obviousness argument or to otherwise rely on U.S.
 3   Patent Application Publication No. 20030031015A1 and U.S. Patent No. 7,086,756,
 4   which are listed without specific citations.
 5         In charting elements 1[e] and 1[g], Feit relies on Minato. The chart does not
 6   specifically identify support leads or metal plates, and for this reason alone the
 7   chart is deficient. To the extent that Feit contends that the leads 32 and 33 are “a
 8   pair of metal plates” (1[g]), Minato’s device does not have support leads, and the
 9   metal plates do not protrude at both ends of the wavelength conversion member.
10   To the extent that Feit contends that the leads 32 and 33 are “support leads” (1[e]),
11   Minato has no metal plates and does not disclose that the leads 32 and 33 “secure
12   the plurality of light emitting element chips inside the transparent bulb.”
13         In general, the chart lists several patent publications in charting elements
14   1[c], 1[d], 1[e], 1[f], 1[g], claims 3, 6, 7, 14, and other elements and claims also
15   include these patent publications by cross-reference. Feit has listed these patent
16   publications without specific citation and without allegations—let alone provided
17   the factual underpinnings regarding motivation to combine and expectation of
18   success—necessary for an obviousness argument or to otherwise rely on these
19   patent publications.
20
21   INTERROGATORY NO. 13: Identify with specificity any methodologies or tests
     that Nichia asserts are applicable for determining whether a member is a
22   wavelength conversion member, a transparent member or a wavelength conversion
23   member formed unitarily with a transparent member, including but not limited to
     the equipment needed for such analysis, the results that would provide the
24   distinction and other necessary steps to allow for duplication or practice of such
25   methodology or test, and identify any documents supporting Nichia’s position.
           Response: In addition to the foregoing general objections, Nichia objects to
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     this Interrogatory to the extent it calls for information that is covered by the
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     attorney-client privilege, the work-product doctrine, or other immunity from
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     See Page A33 of Exhibit A to Nichia’s Final Infringement Contentions.
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14
15   DATED: June 14, 2021     By: /s/ Mark T. Rawls
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13
14                            CERTIFICATE OF SERVICE
15         I hereby certify that on June 14, 2021, I electronically served the document
16   described as PLAINTIFF NICHIA CORPORATION’S OBJECTIONS AND
17   RESPONSES TO DEFENDANT FEIT ELECTRIC COMPANY, INC.’S
18   THIRD SET OF INTERROGATORIES (NOS. 12-20) on the following counsel
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